

ORDER

PER CURIAM:
AND NOW, this 18th day of December, 1996, Joseph Robert Rydzewski having been convicted in the Court of Common Pleas of Lackawanna County of the crime of theft by unlawful taking or disposition in violation of 18 Pa.C.S. § 3921(a) and the said Joseph Robert Rydzewski having requested that he be placed on temporary suspension pursuant to Rule 214, Pa.R.D.E., it is hereby
ORDERED that Joseph Robert Rydzew-ski is placed on temporary suspension and he shall comply with all the provisions of Rule 217, Pa.R.D.E. The matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa.R.D.E.
